                    Exhibit 36
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                                    6701
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_   AuditLocation_   DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_             BeforeValue_                      AfterValue_                             Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2080093522                 2              327792 JCPD-SQL1          11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           RMS_Case                                    Record Added                                                              TN0900100            FALSE         FALSE        TRUE
      -2080093517                 2              327792 JCPD-SQL1          11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Incident_Link_Number                                     325855                                  TN0900100            FALSE         FALSE        TRUE
      -2080093516                 2              327792 JCPD-SQL1          11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Rape_Case              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2080093363                 2              327792 JC-D063DV2         11/25/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Investigate                                              Yes                                     TN0900100            FALSE         FALSE        TRUE
      -2080093362                 2              327792 JC-D063DV2         11/25/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Mgmt_Status_Date                                         Nov 25 2020 10:54AM                     TN0900100            FALSE         FALSE        TRUE
      -2080093352                 2              327792 JC-D063DV2         11/25/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Link            223                               1968                                    TN0900100            FALSE         FALSE        TRUE
      -2080093351                 2              327792 JC-D063DV2         11/25/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Number          0005-00001                        1903-00001                              TN0900100            FALSE         FALSE        TRUE
      -2080093083                 2              327792 JC-8XMXN23         11/25/2020 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2080092917                 2              327792 JC-HZ2Q7X2         11/25/2020 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Case_Description       Forcible Rape - Hopton, Kaleigh   FORCIBLE RAPE - Hopton, Kaleigh 10/25   TN0900100            FALSE         FALSE        TRUE
      -2080092750                 2              327792 JCPD-SQL1          11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2080066749                 2              327792 SBOWMAN-D          11/30/2020 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2079182945                 2              327792 JC-HZ2Q7X2           3/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2079182944                 2              327792 JC-HZ2Q7X2           3/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Link            1968                              902                                     TN0900100            FALSE         FALSE        TRUE
      -2079182943                 2              327792 JC-HZ2Q7X2           3/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Number          1903-00001                        0304 00022                              TN0900100            FALSE         FALSE        TRUE
      -2079182517                 2              327792 JC-D063DV2           3/5/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Mgmt_Status_Date       Nov 25 2020 10:54AM               Mar 5 2021 9:07AM                       TN0900100            FALSE         FALSE        TRUE
      -2079182516                 2              327792 JC-D063DV2           3/5/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Case_Closed            0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2079182491                 2              327792 JC-D063DV2           3/5/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Link            902                               1970                                    TN0900100            FALSE         FALSE        TRUE
      -2079182490                 2              327792 JC-D063DV2           3/5/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Number          0304 00022                        1903-00003                              TN0900100            FALSE         FALSE        TRUE
      -2079182047                 2              327792 JC-MXL9324X5T        3/5/2021 TVAUGHN          T                                  VAUGHN          EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2076962495                 2              327792 JC-HZ2Q7X2          10/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2076962494                 2              327792 JC-HZ2Q7X2          10/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Link            1970                              902                                     TN0900100            FALSE         FALSE        TRUE
      -2076962493                 2              327792 JC-HZ2Q7X2          10/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Number          1903-00003                        0304 00022                              TN0900100            FALSE         FALSE        TRUE
      -2076959156                 2              327792 SBOWMAN-D           10/6/2021 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2076954762                 2              327792 JC-D063DV2          10/6/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Mgmt_Status_Date       Mar 5 2021 9:07AM                 Oct 6 2021 9:57AM                       TN0900100            FALSE         FALSE        TRUE
      -2076954761                 2              327792 JC-D063DV2          10/6/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2076954749                 2              327792 JC-D063DV2          10/6/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Link            902                               1948                                    TN0900100            FALSE         FALSE        TRUE
      -2076954748                 2              327792 JC-D063DV2          10/6/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Number          0304 00022                        1802-00002                              TN0900100            FALSE         FALSE        TRUE
      -2076954072                 2              327792 JC-MXL94159F5       10/6/2021 lsaults          L                                  Saults          EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2076901664                 2              327792 JC-8XMXN23         10/11/2021 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2076895094                 2              327792 JC-MXL94159F5      10/11/2021 lsaults          L                                  Saults          EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2068679050                 2              327792 JC-8XMXN23          1/24/2024 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2068679049                 2              327792 JC-8XMXN23          1/24/2024 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE




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                             INCIDENT




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                                    6703
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_   AuditLocation_   DateStamp_ UserID_           UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_                  BeforeValue_          AfterValue_           Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2080093518                 3              325855 JCPD-SQL1         11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           Incident                                         Record Added                                TN0900100            FALSE         FALSE       TRUE
      -2080093515                 3              325855 JCPD-SQL1         11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident             Date_Status                                       Nov 25 2020 10:50AM   TN0900100            FALSE         FALSE       TRUE
      -2080093514                 3              325855 JCPD-SQL1         11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident             Rape_Case                   0                     1                     TN0900100            FALSE         FALSE       TRUE
      -2080093350                 3              325855 JC-D063DV2        11/25/2020 DHILTON          D                                  HILTON          EDIT          Incident             Folder_Link                 223                   1968                  TN0900100            FALSE         FALSE       TRUE
      -2080093349                 3              325855 JC-D063DV2        11/25/2020 DHILTON          D                                  HILTON          EDIT          Incident             Folder_Number               0005-00001            1903-00001            TN0900100            FALSE         FALSE        TRUE
      -2080092770                 3              325855 JCPD-SQL1         11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident             Total_M_W                   1                     2                     TN0900100            FALSE         FALSE        TRUE
      -2079183006                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Case_Status                                       3                     TN0900100            FALSE         FALSE        TRUE
      -2079183005                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Arrest_Near                                       0                     TN0900100            FALSE         FALSE        TRUE
      -2079183004                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Date_Status                 Nov 25 2020 10:50AM   Mar 5 2021 12:00AM    TN0900100            FALSE         FALSE       TRUE
      -2079183003                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Unknown_Time                                      0                     TN0900100            FALSE         FALSE        TRUE
      -2079183002                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Prints_Found                                      0                     TN0900100            FALSE         FALSE        TRUE
      -2079183001                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Drug_Related                                      0                     TN0900100            FALSE         FALSE        TRUE
      -2079183000                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Family_Violence                                   0                     TN0900100            FALSE         FALSE        TRUE
      -2079182999                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Hate_Motivated                                    0                     TN0900100            FALSE         FALSE        TRUE
      -2079182998                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Assault                                           0                     TN0900100            FALSE         FALSE        TRUE
      -2079182997                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Trtmnt                                            0                     TN0900100            FALSE         FALSE        TRUE
      -2079182996                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Victim_Advised                                    0                     TN0900100            FALSE         FALSE        TRUE
      -2079182995                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Children_Involved                                 0                     TN0900100            FALSE         FALSE        TRUE
      -2079182994                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Children_Present                                  0                     TN0900100            FALSE         FALSE        TRUE
      -2079182993                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Jail_Prison                                       0                     TN0900100            FALSE         FALSE       TRUE
      -2079182992                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Property_Supplement                               0                     TN0900100            FALSE         FALSE        TRUE
      -2079182991                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Narrative_Supplement                              0                     TN0900100            FALSE         FALSE       TRUE
      -2079182990                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Statements                                        0                     TN0900100            FALSE         FALSE       TRUE
      -2079182989                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Other_Supplement                                  0                     TN0900100            FALSE         FALSE        TRUE
      -2079182988                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Investigation                                     0                     TN0900100            FALSE         FALSE        TRUE
      -2079182987                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Intelligence                                      0                     TN0900100            FALSE         FALSE        TRUE
      -2079182986                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Records                                           0                     TN0900100            FALSE         FALSE        TRUE
      -2079182985                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Follow_Up                                         0                     TN0900100            FALSE         FALSE        TRUE
      -2079182984                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Off_Supplement                                    0                     TN0900100            FALSE         FALSE       TRUE
      -2079182983                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Incident                                          0                     TN0900100            FALSE         FALSE        TRUE
      -2079182982                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Offense                                           0                     TN0900100            FALSE         FALSE       TRUE
      -2079182981                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Narr_Juv_Info                                     0                     TN0900100            FALSE         FALSE       TRUE
      -2079182980                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Narr_Wit_Info                                     0                     TN0900100            FALSE         FALSE        TRUE
      -2079182979                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Narr_Evd_Info                                     0                     TN0900100            FALSE         FALSE        TRUE
      -2079182978                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Narr_Veh_Info                                     0                     TN0900100            FALSE         FALSE        TRUE
      -2079182977                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Evidence_Obtained                                 0                     TN0900100            FALSE         FALSE        TRUE
      -2079182976                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             serializedproperty                                0                     TN0900100            FALSE         FALSE        TRUE
      -2079182975                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             VehicleStatusIndicator                            0                     TN0900100            FALSE         FALSE        TRUE
      -2079182974                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             GangRelated                                       0                     TN0900100            FALSE         FALSE        TRUE
      -2079182973                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Alcohol_Related                                   0                     TN0900100            FALSE         FALSE        TRUE
      -2079182972                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Child_Related                                     0                     TN0900100            FALSE         FALSE        TRUE
      -2079182971                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Domestic_Violence_Related                         0                     TN0900100            FALSE         FALSE       TRUE
      -2079182970                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Cult_Related                                      0                     TN0900100            FALSE         FALSE        TRUE
      -2079182969                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Traffic_Related                                   0                     TN0900100            FALSE         FALSE       TRUE
      -2079182968                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Alcohol_Factor                                    0                     TN0900100            FALSE         FALSE        TRUE
      -2079182967                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Drug_Factor                                       0                     TN0900100            FALSE         FALSE        TRUE
      -2079182966                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Crimes_Children_Factor                            0                     TN0900100            FALSE         FALSE        TRUE
      -2079182965                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Dom_Violence_Factor                               0                     TN0900100            FALSE         FALSE        TRUE
      -2079182964                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Gang_Factor                                       0                     TN0900100            FALSE         FALSE        TRUE
      -2079182963                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Hate_Factor                                       0                     TN0900100            FALSE         FALSE        TRUE
      -2079182962                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Satanic_Factor                                    0                     TN0900100            FALSE         FALSE        TRUE
      -2079182961                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Traffic_Factor                                    0                     TN0900100            FALSE         FALSE       TRUE
      -2079182960                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             At_or_Near                                        0                     TN0900100            FALSE         FALSE        TRUE
      -2079182959                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             College_University                                0                     TN0900100            FALSE         FALSE        TRUE
      -2079182958                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             ACIC_NCIC                                         0                     TN0900100            FALSE         FALSE        TRUE
      -2079182957                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             GCIC_INQ                                          0                     TN0900100            FALSE         FALSE       TRUE
      -2079182956                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             GCIC_Entry                                        0                     TN0900100            FALSE         FALSE        TRUE
      -2079182955                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident             Officer_arrived_time        Nov 24 2020 11:30AM                         TN0900100            FALSE         FALSE       TRUE



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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_   AuditLocation_   DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_               BeforeValue_   AfterValue_          Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2079182954                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Victim_Witness                          0                    TN0900100            FALSE         FALSE        TRUE
      -2079182953                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Suspect_Arrestee                        0                    TN0900100            FALSE         FALSE        TRUE
      -2079182952                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Photographed                            0                    TN0900100            FALSE         FALSE        TRUE
      -2079182951                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Rape_Vrfy                               0                    TN0900100            FALSE         FALSE        TRUE
      -2079182950                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Rape_Trtmnt                             0                    TN0900100            FALSE         FALSE       TRUE
      -2079182949                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Original_Report                         0                    TN0900100            FALSE         FALSE        TRUE
      -2079182948                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Phone_Report                            0                    TN0900100            FALSE         FALSE       TRUE
      -2079182947                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Information_Only                        0                    TN0900100            FALSE         FALSE       TRUE
      -2079182946                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             School_Factor                           0                    TN0900100            FALSE         FALSE       TRUE
      -2079182942                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Folder_Link              1968           902                  TN0900100            FALSE         FALSE       TRUE
      -2079182941                 3              325855 JC-HZ2Q7X2           3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Folder_Number            1903-00001     0304 00022           TN0900100            FALSE         FALSE        TRUE
      -2079182489                 3              325855 JC-D063DV2           3/5/2021 DHILTON   D                                  HILTON          EDIT          Incident             Folder_Link              902            1970                 TN0900100            FALSE         FALSE       TRUE
      -2079182488                 3              325855 JC-D063DV2           3/5/2021 DHILTON   D                                  HILTON          EDIT          Incident             Folder_Number            0304 00022     1903-00003           TN0900100            FALSE         FALSE       TRUE
      -2076962498                 3              325855 JC-HZ2Q7X2          10/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Case_Disposition                        3                    TN0900100            FALSE         FALSE       TRUE
      -2076962497                 3              325855 JC-HZ2Q7X2          10/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Exceptional_Clearance                   B                    TN0900100            FALSE         FALSE        TRUE
      -2076962496                 3              325855 JC-HZ2Q7X2          10/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Date_Exceptional_Clear                  Oct 5 2021 12:00AM   TN0900100            FALSE         FALSE       TRUE
      -2076962492                 3              325855 JC-HZ2Q7X2          10/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Folder_Link              1970           902                  TN0900100            FALSE         FALSE       TRUE
      -2076962491                 3              325855 JC-HZ2Q7X2          10/5/2021 TSPARKS   T                                  SPARKS          EDIT          Incident             Folder_Number            1903-00003     0304 00022           TN0900100            FALSE         FALSE       TRUE
      -2076954759                 3              325855 JC-D063DV2          10/6/2021 DHILTON   D                                  HILTON          EDIT          Incident             Case_Status              3                                   TN0900100            FALSE         FALSE        TRUE
      -2076954747                 3              325855 JC-D063DV2          10/6/2021 DHILTON   D                                  HILTON          EDIT          Incident             Folder_Link              902            1948                 TN0900100            FALSE         FALSE       TRUE
      -2076954746                 3              325855 JC-D063DV2          10/6/2021 DHILTON   D                                  HILTON          EDIT          Incident             Folder_Number            0304 00022     1802-00002           TN0900100            FALSE         FALSE       TRUE
      -2076901665                 3              325855 JC-8XMXN23        10/11/2021 JHAMES     J                                  HAMES           EDIT          Incident             Date_Cleared                            Oct 5 2021 12:00AM   TN0900100            FALSE         FALSE        TRUE
      -2074192230                 3              325855 JC-D063DV2          6/30/2022 DHILTON   D                                  HILTON          Printed       Incident                                                     Report Printed       TN0900100            FALSE         FALSE       FALSE
      -2074156448                 3              325855 JC-FLPDDV2           7/5/2022 KPETERS   K                                  PETERS          Printed       Incident                                                     Report Printed       TN0900100            FALSE         FALSE       FALSE
      -2074148721                 3              325855 JC-8XMXN23           7/5/2022 JHAMES    J                                  HAMES           Viewed        Incident                                                     Report Viewed        TN0900100            FALSE         FALSE       FALSE
      -2074148675                 3              325855 JC-8XMXN23           7/5/2022 JHAMES    J                                  HAMES           Viewed        Incident                                                     Report Viewed        TN0900100            FALSE         FALSE       FALSE
      -2074129265                 3              325855 JC-FLPDDV2           7/7/2022 KPETERS   K                                  PETERS          Printed       Incident                                                     Report Printed       TN0900100            FALSE         FALSE       FALSE




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                          OFFENSE




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                                    6706
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_           UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_      BeforeValue_   AfterValue_   Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2080093513                 8             398516 JCPD-SQL1        11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident_Offense     Rape_Case       0              1             TN0900100            FALSE         FALSE       TRUE
      -2080093512                 8             398516 JCPD-SQL1        11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Incident_Offense     UCR_Hierarchy   2                            TN0900100            FALSE         FALSE       TRUE
      -2080093511                 8             398516 JCPD-SQL1        11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           Incident_Offense                     Record Added                 TN0900100            FALSE         FALSE       TRUE
      -2080093344                 8             398516 JC-D063DV2       11/25/2020 DHILTON          D                                  HILTON          EDIT          Incident_Offense     Folder_Link     223            1968          TN0900100            FALSE         FALSE       TRUE
      -2080093343                 8             398516 JC-D063DV2       11/25/2020 DHILTON          D                                  HILTON          EDIT          Incident_Offense     Folder_Number   0005-00001     1903-00001    TN0900100            FALSE         FALSE       TRUE
      -2079182935                 8             398516 JC-HZ2Q7X2          3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident_Offense     Folder_Link     1968           902           TN0900100            FALSE         FALSE       TRUE
      -2079182934                 8             398516 JC-HZ2Q7X2          3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident_Offense     Folder_Number   1903-00001     0304 00022    TN0900100            FALSE         FALSE       TRUE
      -2079182483                 8             398516 JC-D063DV2          3/5/2021 DHILTON         D                                  HILTON          EDIT          Incident_Offense     Folder_Link     902            1970          TN0900100            FALSE         FALSE       TRUE
      -2079182482                 8             398516 JC-D063DV2          3/5/2021 DHILTON         D                                  HILTON          EDIT          Incident_Offense     Folder_Number   0304 00022     1903-00003    TN0900100            FALSE         FALSE       TRUE
      -2076962486                 8             398516 JC-HZ2Q7X2         10/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident_Offense     Folder_Link     1970           902           TN0900100            FALSE         FALSE       TRUE
      -2076962485                 8             398516 JC-HZ2Q7X2         10/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident_Offense     Folder_Number   1903-00003     0304 00022    TN0900100            FALSE         FALSE       TRUE
      -2076954741                 8             398516 JC-D063DV2         10/6/2021 DHILTON         D                                  HILTON          EDIT          Incident_Offense     Folder_Link     902            1948          TN0900100            FALSE         FALSE       TRUE
      -2076954740                 8             398516 JC-D063DV2         10/6/2021 DHILTON         D                                  HILTON          EDIT          Incident_Offense     Folder_Number   0304 00022     1802-00002    TN0900100            FALSE         FALSE       TRUE
      -2068679051                 8             398516 JC-8XMXN23         1/24/2024 JHAMES          J                                  HAMES           EDIT          Incident_Offense     Completed_Bt    1              0             TN0900100            FALSE         FALSE       TRUE




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               INCIDENT NARRATIVE




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                                    6708
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_           UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_        Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2080093483                 40            748167 JCPD-SQL1      11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Narrative            Source_Module_Link   388            223                TN0900100            FALSE         FALSE       TRUE
      -2080093482                 40            748167 JCPD-SQL1      11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           Narrative                                 Record Added                      TN0900100            FALSE         FALSE       TRUE
      -2080093360                 40            748167 JC-D063DV2     11/25/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2080093359                 40            748167 JC-D063DV2     11/25/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2080093356                 40            748167 JC-D063DV2     11/25/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2080093342                 40            748167 JC-D063DV2     11/25/2020 DHILTON          D                                  HILTON          EDIT          Narrative            Source_Module_Link   223            1968               TN0900100            FALSE         FALSE       TRUE
      -2080092920                 40            748167 JC-HZ2Q7X2     11/25/2020 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079183051                 40            748167 JC-HZ2Q7X2        3/5/2021 TSPARKS         T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079183050                 40            748167 JC-HZ2Q7X2        3/5/2021 TSPARKS         T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079183045                 40            748167 JC-HZ2Q7X2        3/5/2021 TSPARKS         T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079182933                 40            748167 JC-HZ2Q7X2        3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1968           902                TN0900100            FALSE         FALSE       TRUE
      -2079182513                 40            748167 JC-D063DV2        3/5/2021 DHILTON         D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079182512                 40            748167 JC-D063DV2        3/5/2021 DHILTON         D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079182507                 40            748167 JC-D063DV2        3/5/2021 DHILTON         D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079182481                 40            748167 JC-D063DV2        3/5/2021 DHILTON         D                                  HILTON          EDIT          Narrative            Source_Module_Link   902            1970               TN0900100            FALSE         FALSE       TRUE
      -2076962511                 40            748167 JC-HZ2Q7X2      10/5/2021 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2076962510                 40            748167 JC-HZ2Q7X2      10/5/2021 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2076962505                 40            748167 JC-HZ2Q7X2      10/5/2021 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2076962484                 40            748167 JC-HZ2Q7X2      10/5/2021 TSPARKS          T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1970           902                TN0900100            FALSE         FALSE       TRUE
      -2076954758                 40            748167 JC-D063DV2      10/6/2021 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2076954757                 40            748167 JC-D063DV2      10/6/2021 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2076954752                 40            748167 JC-D063DV2      10/6/2021 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2076954739                 40            748167 JC-D063DV2      10/6/2021 DHILTON          D                                  HILTON          EDIT          Narrative            Source_Module_Link   902            1948               TN0900100            FALSE         FALSE       TRUE
      -2070524443                 40            748167 JC-HL6MQG2       7/10/2023 SDYKES          S                                  DYKES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2070524437                 40            748167 JC-HL6MQG2       7/10/2023 SDYKES          S                                  DYKES           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2068117006                 40            748167 JC-MXL94159B6   3/22/2024 MADAMS           M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE




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                         NAMES




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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_           UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_      BeforeValue_   AfterValue_   Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2080093484                 4             836807 JCPD-SQL1        11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           Incident_Name                        Record Added                 TN0900100            FALSE        FALSE        TRUE
      -2080093346                 4             836807 JC-D063DV2       11/25/2020 DHILTON          D                                  HILTON          EDIT          Incident_Name        Folder_Link     223            1968          TN0900100            FALSE         FALSE       TRUE
      -2080093345                 4             836807 JC-D063DV2       11/25/2020 DHILTON          D                                  HILTON          EDIT          Incident_Name        Folder_Number   0005-00001     1903-00001    TN0900100            FALSE         FALSE       TRUE
      -2079182940                 4             836807 JC-HZ2Q7X2          3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident_Name        Folder_Link     1968           902           TN0900100            FALSE         FALSE       TRUE
      -2079182939                 4             836807 JC-HZ2Q7X2          3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident_Name        Folder_Number   1903-00001     0304 00022    TN0900100            FALSE         FALSE       TRUE
      -2079182487                 4             836807 JC-D063DV2          3/5/2021 DHILTON         D                                  HILTON          EDIT          Incident_Name        Folder_Link     902            1970          TN0900100            FALSE         FALSE       TRUE
      -2079182486                 4             836807 JC-D063DV2          3/5/2021 DHILTON         D                                  HILTON          EDIT          Incident_Name        Folder_Number   0304 00022     1903-00003    TN0900100            FALSE         FALSE       TRUE
      -2076962490                 4             836807 JC-HZ2Q7X2         10/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident_Name        Folder_Link     1970           902           TN0900100            FALSE         FALSE       TRUE
      -2076962489                 4             836807 JC-HZ2Q7X2         10/5/2021 TSPARKS         T                                  SPARKS          EDIT          Incident_Name        Folder_Number   1903-00003     0304 00022    TN0900100            FALSE         FALSE       TRUE
      -2076954745                 4             836807 JC-D063DV2         10/6/2021 DHILTON         D                                  HILTON          EDIT          Incident_Name        Folder_Link     902            1948          TN0900100            FALSE         FALSE       TRUE
      -2076954744                 4             836807 JC-D063DV2         10/6/2021 DHILTON         D                                  HILTON          EDIT          Incident_Name        Folder_Number   0304 00022     1802-00002    TN0900100            FALSE         FALSE       TRUE




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                  CASE MANAGEMENT




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                                     6712
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_   AuditLocation_   DateStamp_ UserID_            UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_             BeforeValue_                      AfterValue_                             Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2080093522                 2              327792 JCPD-SQL1          11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           RMS_Case                                    Record Added                                                              TN0900100            FALSE         FALSE        TRUE
      -2080093517                 2              327792 JCPD-SQL1          11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Incident_Link_Number                                     325855                                  TN0900100            FALSE         FALSE        TRUE
      -2080093516                 2              327792 JCPD-SQL1          11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Rape_Case              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2080093363                 2              327792 JC-D063DV2         11/25/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Investigate                                              Yes                                     TN0900100            FALSE         FALSE        TRUE
      -2080093362                 2              327792 JC-D063DV2         11/25/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Mgmt_Status_Date                                         Nov 25 2020 10:54AM                     TN0900100            FALSE         FALSE        TRUE
      -2080093352                 2              327792 JC-D063DV2         11/25/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Link            223                               1968                                    TN0900100            FALSE         FALSE        TRUE
      -2080093351                 2              327792 JC-D063DV2         11/25/2020 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Number          0005-00001                        1903-00001                              TN0900100            FALSE         FALSE        TRUE
      -2080093083                 2              327792 JC-8XMXN23         11/25/2020 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2080092917                 2              327792 JC-HZ2Q7X2         11/25/2020 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Case_Description       Forcible Rape - Hopton, Kaleigh   FORCIBLE RAPE - Hopton, Kaleigh 10/25   TN0900100            FALSE         FALSE        TRUE
      -2080092750                 2              327792 JCPD-SQL1          11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2080066749                 2              327792 SBOWMAN-D          11/30/2020 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2079182945                 2              327792 JC-HZ2Q7X2           3/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2079182944                 2              327792 JC-HZ2Q7X2           3/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Link            1968                              902                                     TN0900100            FALSE         FALSE        TRUE
      -2079182943                 2              327792 JC-HZ2Q7X2           3/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Number          1903-00001                        0304 00022                              TN0900100            FALSE         FALSE        TRUE
      -2079182517                 2              327792 JC-D063DV2           3/5/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Mgmt_Status_Date       Nov 25 2020 10:54AM               Mar 5 2021 9:07AM                       TN0900100            FALSE         FALSE        TRUE
      -2079182516                 2              327792 JC-D063DV2           3/5/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Case_Closed            0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2079182491                 2              327792 JC-D063DV2           3/5/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Link            902                               1970                                    TN0900100            FALSE         FALSE        TRUE
      -2079182490                 2              327792 JC-D063DV2           3/5/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Number          0304 00022                        1903-00003                              TN0900100            FALSE         FALSE        TRUE
      -2079182047                 2              327792 JC-MXL9324X5T        3/5/2021 TVAUGHN          T                                  VAUGHN          EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2076962495                 2              327792 JC-HZ2Q7X2          10/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2076962494                 2              327792 JC-HZ2Q7X2          10/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Link            1970                              902                                     TN0900100            FALSE         FALSE        TRUE
      -2076962493                 2              327792 JC-HZ2Q7X2          10/5/2021 TSPARKS          T                                  SPARKS          EDIT          RMS_Case             Folder_Number          1903-00003                        0304 00022                              TN0900100            FALSE         FALSE        TRUE
      -2076959156                 2              327792 SBOWMAN-D           10/6/2021 SBOWMAN          S                                  BOWMAN          EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2076954762                 2              327792 JC-D063DV2          10/6/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Mgmt_Status_Date       Mar 5 2021 9:07AM                 Oct 6 2021 9:57AM                       TN0900100            FALSE         FALSE        TRUE
      -2076954761                 2              327792 JC-D063DV2          10/6/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2076954749                 2              327792 JC-D063DV2          10/6/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Link            902                               1948                                    TN0900100            FALSE         FALSE        TRUE
      -2076954748                 2              327792 JC-D063DV2          10/6/2021 DHILTON          D                                  HILTON          EDIT          RMS_Case             Folder_Number          0304 00022                        1802-00002                              TN0900100            FALSE         FALSE        TRUE
      -2076954072                 2              327792 JC-MXL94159F5       10/6/2021 lsaults          L                                  Saults          EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2076901664                 2              327792 JC-8XMXN23         10/11/2021 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2076895094                 2              327792 JC-MXL94159F5      10/11/2021 lsaults          L                                  Saults          EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE
      -2068679050                 2              327792 JC-8XMXN23          1/24/2024 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              1                                 0                                       TN0900100            FALSE         FALSE        TRUE
      -2068679049                 2              327792 JC-8XMXN23          1/24/2024 JHAMES           J                                  HAMES           EDIT          RMS_Case             Validated              0                                 1                                       TN0900100            FALSE         FALSE        TRUE




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          MAIN NARRATIVE CASE NOTES




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                                     6714
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_           UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_        Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2080093481                 40            748168 JCPD-SQL1        11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        EDIT          Narrative            Source_Module_Link   388            223                TN0900100            FALSE         FALSE       TRUE
      -2080093480                 40            748168 JCPD-SQL1        11/25/2020 WATSONINCIDENT   WATSON                             INCIDENT        Add           Narrative                                 Record Added                      TN0900100            FALSE         FALSE       TRUE
      -2080093358                 40            748168 JC-D063DV2       11/25/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2080093357                 40            748168 JC-D063DV2       11/25/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2080093355                 40            748168 JC-D063DV2       11/25/2020 DHILTON          D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2080093337                 40            748168 JC-D063DV2       11/25/2020 DHILTON          D                                  HILTON          EDIT          Narrative            Source_Module_Link   223            1968               TN0900100            FALSE         FALSE       TRUE
      -2080092921                 40            748168 JC-HZ2Q7X2       11/25/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080092919                 40            748168 JC-HZ2Q7X2       11/25/2020 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2080092918                 40            748168 JC-HZ2Q7X2       11/25/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080091837                 40            748168 JC-HZ2Q7X2       11/25/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080090564                 40            748168 JC-HZ2Q7X2       11/25/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080089071                 40            748168 JC-HZ2Q7X2       11/25/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080059517                 40            748168 JC-D063DV2       11/30/2020 DHILTON          D                                  HILTON          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080054222                 40            748168 JC-HZ2Q7X2       11/30/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080053412                 40            748168 JC-HZ2Q7X2       11/30/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080053149                 40            748168 JC-FLPDDV2       11/30/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080051848                 40            748168 JC-HZ2Q7X2       11/30/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080034169                 40            748168 JC-D063DV2        12/2/2020 DHILTON          D                                  HILTON          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080032008                 40            748168 JC-HZ2Q7X2        12/2/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080026290                 40            748168 JC-FLPDDV2        12/3/2020 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080022189                 40            748168 JC-HZ2Q7X2        12/3/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080020943                 40            748168 JC-HZ2Q7X2        12/3/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080014336                 40            748168 JC-HZ2Q7X2        12/4/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080000721                 40            748168 JC-HZ2Q7X2        12/7/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2080000440                 40            748168 JC-HZ2Q7X2        12/7/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079993792                 40            748168 JC-HZ2Q7X2        12/7/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079909110                 40            748168 JC-HZ2Q7X2       12/15/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079795153                 40            748168 JC-MXL9324X6F    12/30/2020 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079679540                 40            748168 JC-D063DV2        1/12/2021 DHILTON          D                                  HILTON          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079667591                 40            748168 JC-MXL9324X6F     1/13/2021 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079602497                 40            748168 JC-HZ2Q7X2        1/20/2021 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079517082                 40            748168 JC-HZ2Q7X2        1/29/2021 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079353384                 40            748168 JC-HZ2Q7X2        2/16/2021 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079214101                 40            748168 JC-HZ2Q7X2          3/2/2021 TSPARKS         T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079183096                 40            748168 JC-HZ2Q7X2          3/5/2021 TSPARKS         T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079183049                 40            748168 JC-HZ2Q7X2          3/5/2021 TSPARKS         T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079183047                 40            748168 JC-HZ2Q7X2          3/5/2021 TSPARKS         T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079183044                 40            748168 JC-HZ2Q7X2          3/5/2021 TSPARKS         T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079182928                 40            748168 JC-HZ2Q7X2          3/5/2021 TSPARKS         T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1968           902                TN0900100            FALSE         FALSE       TRUE
      -2079182607                 40            748168 JC-D063DV2          3/5/2021 DHILTON         D                                  HILTON          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2079182511                 40            748168 JC-D063DV2          3/5/2021 DHILTON         D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079182509                 40            748168 JC-D063DV2          3/5/2021 DHILTON         D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079182506                 40            748168 JC-D063DV2          3/5/2021 DHILTON         D                                  HILTON          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2079182476                 40            748168 JC-D063DV2          3/5/2021 DHILTON         D                                  HILTON          EDIT          Narrative            Source_Module_Link   902            1970               TN0900100            FALSE         FALSE       TRUE
      -2078260174                 40            748168 JC-HZ2Q7X2          6/8/2021 TSPARKS         T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2078048835                 40            748168 JC-FLPDDV2        6/29/2021 KPETERS          K                                  PETERS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2077755786                 40            748168 JC-HZ2Q7X2        7/26/2021 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2076962523                 40            748168 JC-HZ2Q7X2        10/5/2021 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2076962517                 40            748168 JC-HZ2Q7X2        10/5/2021 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2076962515                 40            748168 JC-HZ2Q7X2        10/5/2021 TSPARKS          T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed   TN0900100            FALSE         FALSE       FALSE
      -2076962509                 40            748168 JC-HZ2Q7X2        10/5/2021 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2076962507                 40            748168 JC-HZ2Q7X2        10/5/2021 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2076962504                 40            748168 JC-HZ2Q7X2        10/5/2021 TSPARKS          T                                  SPARKS          EDIT          NARRATIVE                                                                   TN0900100            FALSE         FALSE       TRUE
      -2076962479                 40            748168 JC-HZ2Q7X2        10/5/2021 TSPARKS          T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1970           902                TN0900100            FALSE         FALSE       TRUE




                                                                       Case 2:23-cv-00071-TRM-JEM Document 235-35 Filed 06/28/24 Page 16 of 21 PageID #:
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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_          UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2076955335                 40            748168 JC-D063DV2      10/6/2021 DHILTON         D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2076954756                 40            748168 JC-D063DV2      10/6/2021 DHILTON         D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2076954754                 40            748168 JC-D063DV2      10/6/2021 DHILTON         D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2076954751                 40            748168 JC-D063DV2      10/6/2021 DHILTON         D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2076954734                 40            748168 JC-D063DV2      10/6/2021 DHILTON         D                                  HILTON          EDIT          Narrative            Source_Module_Link   902            1948                TN0900100            FALSE         FALSE       TRUE
      -2074192229                 40            748168 JC-D063DV2      6/30/2022 DHILTON         D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074192222                 40            748168 JC-D063DV2      6/30/2022 DHILTON         D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074167013                 40            748168 JC-FLPDDV2        7/3/2022 KPETERS        K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074156445                 40            748168 JC-FLPDDV2        7/5/2022 KPETERS        K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074156444                 40            748168 JC-FLPDDV2        7/5/2022 KPETERS        K                                  PETERS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE         FALSE       FALSE
      -2074151632                 40            748168 JC-HZ2Q7X2        7/5/2022 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074149981                 40            748168 JC-D063DV2        7/5/2022 DHILTON        D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074148777                 40            748168 JC-MXL9414YPX     7/5/2022 RShaneMalone   R                                  MALONE          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074148726                 40            748168 JC-8XMXN23        7/5/2022 JHAMES         J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074148724                 40            748168 JC-8XMXN23        7/5/2022 JHAMES         J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074129501                 40            748168 JC-HZ2Q7X2        7/7/2022 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074129263                 40            748168 JC-FLPDDV2        7/7/2022 KPETERS        K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074129262                 40            748168 JC-FLPDDV2        7/7/2022 KPETERS        K                                  PETERS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE         FALSE       FALSE
      -2072055508                 40            748168 JC-D063DV2      1/31/2023 DHILTON         D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2072055504                 40            748168 JC-D063DV2      1/31/2023 DHILTON         D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2072055464                 40            748168 JC-D063DV2      1/31/2023 DHILTON         D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2072055432                 40            748168 JC-8XMXN23      1/31/2023 JHAMES          J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2072055430                 40            748168 JC-8XMXN23      1/31/2023 JHAMES          J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2072049444                 40            748168 JC-8XMXN23        2/1/2023 JHAMES         J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2072048638                 40            748168 JC-8XMXN23        2/1/2023 JHAMES         J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2071984701                 40            748168 JC-HZ2Q7X2        2/7/2023 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2071031088                 40            748168 JC-HZ2Q7X2      5/15/2023 TSPARKS         T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2071024846                 40            748168 JC-HZ2Q7X2      5/16/2023 TSPARKS         T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070854203                 40            748168 JC-HZ2Q7X2        6/5/2023 GWills         G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070786079                 40            748168 JC-HZ2Q7X2      6/13/2023 TSPARKS         T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070773120                 40            748168 JC-HZ2Q7X2      6/14/2023 TSPARKS         T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070697929                 40            748168 JC-MXL9415LFT   6/22/2023 GWills          G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070654316                 40            748168 JC-HZ2Q7X2      6/26/2023 TSPARKS         T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070469026                 40            748168 JC-FFZ26X3       7/15/2023 MHOLLIS        M                                  HOLLIS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070244761                 40            748168 JC-HZ2Q7X2        8/8/2023 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070244756                 40            748168 JC-HZ2Q7X2        8/8/2023 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070244406                 40            748168 JC-HZ2Q7X2        8/8/2023 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070244399                 40            748168 JC-HZ2Q7X2        8/8/2023 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070244326                 40            748168 JC-HZ2Q7X2        8/8/2023 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070165952                 40            748168 JC-HZ2Q7X2      8/17/2023 TSPARKS         T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070165781                 40            748168 JC-HZ2Q7X2      8/17/2023 TSPARKS         T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2069504219                 40            748168 JC-MXL94159B6  10/24/2023 MADAMS          M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2069503193                 40            748168 CHILL-N        10/24/2023 CHILL           CONNIE                             HILL            Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2069042675                 40            748168 JC-8XMXN23     12/13/2023 JHAMES          J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2068116967                 40            748168 JC-MXL94159B6   3/22/2024 MADAMS          M                                  ADAMS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE




                                                                    Case 2:23-cv-00071-TRM-JEM Document 235-35 Filed 06/28/24 Page 17 of 21 PageID #:
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                   T SPARKS CASE NOTES




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                                     6717
Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2080092913                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080092912                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          EDIT          Narrative            Source_Module_Link                  1968                TN0900100            FALSE         FALSE       TRUE
      -2080092911                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          Add           Narrative                                 Record Added                       TN0900100            FALSE         FALSE       TRUE
      -2080091838                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2080091836                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080091834                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2080091150                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2080091147                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2080091146                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2080091046                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2080090563                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080089070                 40            748175 JC-HZ2Q7X2       11/25/2020 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080059516                 40            748175 JC-D063DV2       11/30/2020 DHILTON    D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2080054221                 40            748175 JC-HZ2Q7X2       11/30/2020 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080053411                 40            748175 JC-HZ2Q7X2       11/30/2020 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080053148                 40            748175 JC-FLPDDV2       11/30/2020 KPETERS    K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2080051847                 40            748175 JC-HZ2Q7X2       11/30/2020 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080051808                 40            748175 JC-HZ2Q7X2       11/30/2020 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2080034168                 40            748175 JC-D063DV2         12/2/2020 DHILTON   D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2080032007                 40            748175 JC-HZ2Q7X2         12/2/2020 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080031968                 40            748175 JC-HZ2Q7X2         12/2/2020 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2080026289                 40            748175 JC-FLPDDV2         12/3/2020 KPETERS   K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2080026288                 40            748175 JC-FLPDDV2         12/3/2020 KPETERS   K                                  PETERS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2080022188                 40            748175 JC-HZ2Q7X2         12/3/2020 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080020942                 40            748175 JC-HZ2Q7X2         12/3/2020 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080020611                 40            748175 JC-HZ2Q7X2         12/3/2020 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2080014335                 40            748175 JC-HZ2Q7X2         12/4/2020 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080014334                 40            748175 JC-HZ2Q7X2         12/4/2020 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2080000720                 40            748175 JC-HZ2Q7X2         12/7/2020 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2080000543                 40            748175 JC-HZ2Q7X2         12/7/2020 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2080000439                 40            748175 JC-HZ2Q7X2         12/7/2020 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2079999697                 40            748175 JC-HZ2Q7X2         12/7/2020 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079999696                 40            748175 JC-HZ2Q7X2         12/7/2020 TSPARKS   T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE         FALSE       FALSE
      -2079999671                 40            748175 JC-HZ2Q7X2         12/7/2020 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079999670                 40            748175 JC-HZ2Q7X2         12/7/2020 TSPARKS   T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE         FALSE       FALSE
      -2079993791                 40            748175 JC-HZ2Q7X2         12/7/2020 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2079993790                 40            748175 JC-HZ2Q7X2         12/7/2020 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079909109                 40            748175 JC-HZ2Q7X2       12/15/2020 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2079909084                 40            748175 JC-HZ2Q7X2       12/15/2020 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079908901                 40            748175 JC-HZ2Q7X2       12/15/2020 TSPARKS    T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079795152                 40            748175 JC-MXL9324X6F    12/30/2020 TSPARKS    T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2079679539                 40            748175 JC-D063DV2         1/12/2021 DHILTON   D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2079667590                 40            748175 JC-MXL9324X6F      1/13/2021 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2079602496                 40            748175 JC-HZ2Q7X2         1/20/2021 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2079517081                 40            748175 JC-HZ2Q7X2         1/29/2021 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2079353382                 40            748175 JC-HZ2Q7X2         2/16/2021 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2079353336                 40            748175 JC-HZ2Q7X2         2/16/2021 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079214100                 40            748175 JC-HZ2Q7X2          3/2/2021 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2079183095                 40            748175 JC-HZ2Q7X2          3/5/2021 TSPARKS   T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2079183063                 40            748175 JC-HZ2Q7X2          3/5/2021 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079183048                 40            748175 JC-HZ2Q7X2          3/5/2021 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079183046                 40            748175 JC-HZ2Q7X2          3/5/2021 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079183043                 40            748175 JC-HZ2Q7X2          3/5/2021 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079182927                 40            748175 JC-HZ2Q7X2          3/5/2021 TSPARKS   T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1968           902                 TN0900100            FALSE         FALSE       TRUE



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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_   DateStamp_ UserID_          UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_           BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2079182606                 40            748175 JC-D063DV2          3/5/2021 DHILTON        D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2079182510                 40            748175 JC-D063DV2          3/5/2021 DHILTON        D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079182508                 40            748175 JC-D063DV2          3/5/2021 DHILTON        D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079182505                 40            748175 JC-D063DV2          3/5/2021 DHILTON        D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2079182475                 40            748175 JC-D063DV2          3/5/2021 DHILTON        D                                  HILTON          EDIT          Narrative            Source_Module_Link   902            1970                TN0900100            FALSE         FALSE       TRUE
      -2078260173                 40            748175 JC-HZ2Q7X2          6/8/2021 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2078260145                 40            748175 JC-HZ2Q7X2          6/8/2021 TSPARKS        T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2078048834                 40            748175 JC-FLPDDV2         6/29/2021 KPETERS        K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2078048833                 40            748175 JC-FLPDDV2         6/29/2021 KPETERS        K                                  PETERS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2077755785                 40            748175 JC-HZ2Q7X2         7/26/2021 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2076962522                 40            748175 JC-HZ2Q7X2         10/5/2021 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2076962516                 40            748175 JC-HZ2Q7X2         10/5/2021 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2076962514                 40            748175 JC-HZ2Q7X2         10/5/2021 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2076962513                 40            748175 JC-HZ2Q7X2         10/5/2021 TSPARKS        T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2076962508                 40            748175 JC-HZ2Q7X2         10/5/2021 TSPARKS        T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2076962506                 40            748175 JC-HZ2Q7X2         10/5/2021 TSPARKS        T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2076962503                 40            748175 JC-HZ2Q7X2         10/5/2021 TSPARKS        T                                  SPARKS          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2076962478                 40            748175 JC-HZ2Q7X2         10/5/2021 TSPARKS        T                                  SPARKS          EDIT          Narrative            Source_Module_Link   1970           902                 TN0900100            FALSE         FALSE       TRUE
      -2076955334                 40            748175 JC-D063DV2         10/6/2021 DHILTON        D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2076954755                 40            748175 JC-D063DV2         10/6/2021 DHILTON        D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2076954753                 40            748175 JC-D063DV2         10/6/2021 DHILTON        D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2076954750                 40            748175 JC-D063DV2         10/6/2021 DHILTON        D                                  HILTON          EDIT          NARRATIVE                                                                    TN0900100            FALSE         FALSE       TRUE
      -2076954733                 40            748175 JC-D063DV2         10/6/2021 DHILTON        D                                  HILTON          EDIT          Narrative            Source_Module_Link   902            1948                TN0900100            FALSE         FALSE       TRUE
      -2074192228                 40            748175 JC-D063DV2         6/30/2022 DHILTON        D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074192226                 40            748175 JC-D063DV2         6/30/2022 DHILTON        D                                  HILTON          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE         FALSE       FALSE
      -2074192221                 40            748175 JC-D063DV2         6/30/2022 DHILTON        D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074167012                 40            748175 JC-FLPDDV2          7/3/2022 KPETERS        K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074156443                 40            748175 JC-FLPDDV2          7/5/2022 KPETERS        K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074156442                 40            748175 JC-FLPDDV2          7/5/2022 KPETERS        K                                  PETERS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074151631                 40            748175 JC-HZ2Q7X2          7/5/2022 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074151623                 40            748175 JC-HZ2Q7X2          7/5/2022 TSPARKS        T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE         FALSE       FALSE
      -2074149980                 40            748175 JC-D063DV2          7/5/2022 DHILTON        D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074148776                 40            748175 JC-MXL9414YPX       7/5/2022 RShaneMalone   R                                  MALONE          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074148725                 40            748175 JC-8XMXN23          7/5/2022 JHAMES         J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074148723                 40            748175 JC-8XMXN23          7/5/2022 JHAMES         J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074148722                 40            748175 JC-8XMXN23          7/5/2022 JHAMES         J                                  HAMES           Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2074129500                 40            748175 JC-HZ2Q7X2          7/7/2022 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2074129261                 40            748175 JC-FLPDDV2          7/7/2022 KPETERS        K                                  PETERS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2074129260                 40            748175 JC-FLPDDV2          7/7/2022 KPETERS        K                                  PETERS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE        FALSE        FALSE
      -2072055507                 40            748175 JC-D063DV2         1/31/2023 DHILTON        D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055503                 40            748175 JC-D063DV2         1/31/2023 DHILTON        D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055463                 40            748175 JC-D063DV2         1/31/2023 DHILTON        D                                  HILTON          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055431                 40            748175 JC-8XMXN23         1/31/2023 JHAMES         J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072055429                 40            748175 JC-8XMXN23         1/31/2023 JHAMES         J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072049443                 40            748175 JC-8XMXN23          2/1/2023 JHAMES         J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2072048637                 40            748175 JC-8XMXN23          2/1/2023 JHAMES         J                                  HAMES           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2071984700                 40            748175 JC-HZ2Q7X2          2/7/2023 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2071984699                 40            748175 JC-HZ2Q7X2          2/7/2023 TSPARKS        T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE         FALSE       FALSE
      -2071031087                 40            748175 JC-HZ2Q7X2         5/15/2023 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2071024845                 40            748175 JC-HZ2Q7X2         5/16/2023 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2071024844                 40            748175 JC-HZ2Q7X2         5/16/2023 TSPARKS        T                                  SPARKS          Printed       Narrative                                                Narrative Printed   TN0900100            FALSE         FALSE       FALSE
      -2070854202                 40            748175 JC-HZ2Q7X2          6/5/2023 GWills         G                                  WILLS           Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070786078                 40            748175 JC-HZ2Q7X2         6/13/2023 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070773119                 40            748175 JC-HZ2Q7X2         6/14/2023 TSPARKS        T                                  SPARKS          Viewed        Narrative                                                Narrative Viewed    TN0900100            FALSE         FALSE       FALSE



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Audit_Trail_Link_ Source_Table_ID_ Source_Table_Link_ AuditLocation_ DateStamp_ UserID_     UserFirstName_   UserMiddlename_   UserLastName_   ChangeType_   Source_Table_Name_   FieldName_   BeforeValue_   AfterValue_         Jurisdiction_   Confidential_   Juvenile_   Rape_Case_
      -2070697928                 40            748175 JC-MXL9415LFT    6/22/2023 GWills    G                                  WILLS           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070697927                 40            748175 JC-MXL9415LFT    6/22/2023 GWills    G                                  WILLS           Printed       Narrative                                        Narrative Printed   TN0900100            FALSE         FALSE       FALSE
      -2070654315                 40            748175 JC-HZ2Q7X2       6/26/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070654260                 40            748175 JC-HZ2Q7X2       6/26/2023 TSPARKS   T                                  SPARKS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE         FALSE       FALSE
      -2070469025                 40            748175 JC-FFZ26X3       7/15/2023 MHOLLIS   M                                  HOLLIS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2070244759                 40            748175 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070244755                 40            748175 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070244754                 40            748175 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Printed       Narrative                                        Narrative Printed   TN0900100            FALSE         FALSE       FALSE
      -2070244405                 40            748175 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070244404                 40            748175 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          EDIT          NARRATIVE                                                            TN0900100            FALSE         FALSE       TRUE
      -2070244398                 40            748175 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070244325                 40            748175 JC-HZ2Q7X2        8/8/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070165951                 40            748175 JC-HZ2Q7X2       8/17/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2070165780                 40            748175 JC-HZ2Q7X2       8/17/2023 TSPARKS   T                                  SPARKS          Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2069504218                 40            748175 JC-MXL94159B6  10/24/2023 MADAMS     M                                  ADAMS           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE
      -2069503190                 40            748175 CHILL-N        10/24/2023 CHILL      CONNIE                             HILL            Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2069042674                 40            748175 JC-8XMXN23     12/13/2023 JHAMES     J                                  HAMES           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE        FALSE        FALSE
      -2068116949                 40            748175 JC-MXL94159B6    3/22/2024 MADAMS    M                                  ADAMS           Viewed        Narrative                                        Narrative Viewed    TN0900100            FALSE         FALSE       FALSE




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